             Case 2:11-cr-00296-WBS Document 929 Filed 10/17/19 Page 1 of 2


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 5
     Attorney for Defendant
 6   MANUEL HERRERA

 7                            IN THE UNITED STATES DISTRICT COURT

 8                        FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                     )       No. CR-S-11-296-02 WBS
                                                   )
11                                                 )
            Plaintiff,                             )       STIPULATION AND [PROPOSED]
12                                                 )       ORDER TO CONTINUE JUDGMENT AND
     v.                                            )       SENTENCING DATE
13                                                 )
     MANUEL HERRERA,                               )
14                                                 )       Date: November 4, 2019
                                                   )       Time: 9:00 a.m.
15
            Defendant.                             )       Judge: WILLIAM B. SHUBB
                                                   )
16                                                 )

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18          This matter was set for judgment and sentencing before this court on September 30, 2019.
19   Due to health issues of defense counsel, the matter was dropped from the calendar. Counsel for
20   the defendant is now ready to proceed.
21          Therefore, the United States of America through its undersigned counsel, Brian Fogerty,
22   Assistant United States Attorney, together with counsel for defendant Manuel Herrera, John R.
23   Manning, Esq., hereby request the Court place the matter on calendar for November 4, 2019.
24

25   IT IS SO STIPULATED.
26   Dated: October 16. 2019                                      /s/ John R. Manning
27
                                                                  JOHN R. MANNING
                                                                  Attorney for Defendant
28                                                                Manuel Herrera


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             Case 2:11-cr-00296-WBS Document 929 Filed 10/17/19 Page 2 of 2



 1
     Dated: October 16, 2019                         McGregor W. Scott
 2                                                   United States Attorney

 3                                             by:   /s/ Brian A. Fogerty
                                                     BRIAN A. FOGERTY
 4
                                                     Assistant U.S. Attorney
 5

 6
                                        ORDER
 7

 8         Dated: October 17, 2019

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